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                           No. 23-10362
__________________________________________________________________
         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


   ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
  PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
     PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS;
           SHAUN JESTER, D.O.; REGINA FROST-CLARK, M.D.;
            TYLER JOHNSON, D.O.; GEORGE DELGADO, M.D.,
                         Plaintiffs-Appellees
                                   v.
 FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of
  Food and Drugs; JANET WOODCOCK, M.D., in her official capacity as
 Principal Deputy Commissioner, U.S. Food and Drug Administration;
PATRIZIA CAVAZZONI, M.D., in her official capacity as Director, Center for
 Drug Evaluation and Research, U.S. Food and Drug Administration;
 UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER
 BECERRA, Secretary, U.S. Department of Health and Human Services,
                       Defendants-Appellants
                                   v.
                    DANCO LABORATORIES, L.L.C.
                        Intervenor-Appellant


            On Appeal from the United States District Court
                  for the Northern District of Texas
                         No. 2:22-cv-00223-Z


BRIEF OF THE STATES OF MISSISSIPPI, ALABAMA, ARKANSAS, FLORIDA,
GEORGIA, INDIANA, IOWA, KANSAS, KENTUCKY, LOUISIANA, MONTANA,
 NEBRASKA, OHIO, SOUTH CAROLINA, SOUTH DAKOTA, TENNESSEE,
   TEXAS, UTAH, AND WYOMING AS AMICI CURIAE IN SUPPORT OF
            PLAINTIFFS-APPELLEES’ OPPOSITION TO AN
               EMERGENCY STAY PENDING APPEAL
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            CERTIFICATE OF INTERESTED PERSONS
     Under this Court’s Rule 28.2.1, governmental parties need not
furnish a certificate of interested persons.

                             s/ Justin L. Matheny
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        INTRODUCTION, INTEREST OF AMICI CURIAE,
              AND SUMMARY OF ARGUMENT
     The public interest and equities overwhelmingly support the
district court’s order staying the FDA’s actions on chemical abortion.
That order details the FDA’s decades-long defiance of federal law (Op. 32-

48, D. Ct. Dkt. 137) that has inflicted harm (Op. 45-47, 51-52, 57-58, 61-
63) on a scale we will never fully know because the FDA “systematically”
concealed it (Op. 59; see Op. 29 n.22, 58)—all because the “political
objective[s]” of “abortion advocates” were more important to the FDA
than the safety of women (Op. 55, 57 (emphasis omitted)). The FDA and
a lead purveyor of chemical abortion now ask this Court to grant them

extraordinary equitable relief halting the district court’s ruling. The
equities doom that request—indeed it is rare that the equities are so one-
sided. This Court should leave in place the district court’s ruling
restoring lawfulness and safety after a quarter century of harm.
     Amici curiae submit this brief to drive home why the public interest
and equities support the district court’s order. Amici are the States of
Mississippi, Alabama, Arkansas, Florida, Georgia, Indiana, Iowa,
Kansas, Kentucky, Louisiana, Montana, Nebraska, Ohio, South
Carolina, South Dakota, Tennessee, Texas, Utah, and Wyoming. Last

year, the Supreme Court held that abortion is a matter that is entrusted
to “the people and their elected representatives” to address. Dobbs v.


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Jackson Women’s Health Organization, 142 S. Ct. 2228, 2284 (2022).
Overruling precedent that took that authority away from the people, the

Court returned the issue of “regulating or prohibiting abortion” to “the
citizens of each State.” Ibid. States may thus pursue their “legitimate
interests” in protecting unborn life, women’s health, and the medical
profession by regulating or restricting abortion. Ibid. Like other States,
amici have, consistent with the Constitution and the Supreme Court’s
decision in Dobbs, adopted laws regulating abortion—including chemical

abortion. Those laws strike a balance among the competing interests, are
the results of hard-fought democratic processes, and embody the
considered judgments of “the people and their elected representatives.”
Ibid. Some States have chosen to adopt tighter restrictions on abortion
following Dobbs. Other States have embraced more permissive regimes.
These choices reflect the approach the Constitution envisions for
addressing complex issues that require “legislative bodies” to “draw lines
that accommodate competing interests.” Id. at 2268.
     Rather than respect the Constitution, the Supreme Court, and the
democratic process, the Biden Administration and its FDA have attacked
and worked to undermine the considered judgments of the elected
representatives of States like amici. The Administration’s actions on
abortion drugs typify that effort. The day Dobbs was decided, President


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Biden directed his Administration to ensure that abortion drugs are “as
widely accessible as possible,” including “through telehealth and sent by

mail.” Fact Sheet: President Biden Announces Actions In Light of Today’s
Supreme Court Decision on Dobbs v. Jackson Women’s Health
Organization, The White House (June 24, 2022), http://bit.ly/3DqTmwd.
The President soon signed an executive order lamenting States’
regulation of abortion and directing federal agencies to “expand access to
abortion care, including medication abortion.” Protecting Access to

Reproductive Healthcare Services, Exec. Order No. 14076, 87 Fed. Reg.
42053, 42053 (2022). Earlier this year, President Biden signed a
memorandum spotlighting his Administration’s efforts to “evaluat[e] and
monitor[ ]” state laws “that threaten to infringe” on purported “Federal
legal protections [for abortion].” Memorandum on Further Efforts to
Protect Access to Reproductive Healthcare Services, The White House
(Jan. 22, 2023), http://bit.ly/3kEZrPl. He also expressed his intent to
promote access to abortion drugs for patients and providers “no matter
where they live.” Fact Sheet: President Biden to Sign Presidential
Memorandum on Ensuring Safe Access to Medication Abortion, The
White House (Jan. 22, 2023), http://bit.ly/3I160Vn.
     Although the Biden Administration has, following Dobbs, doubled
down on its efforts to impose on the country an elective-abortion policy


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that it could never achieve through the democratic process, that goal is
not new—especially with abortion drugs. For two decades, the U.S. Food

and Drug Administration has acted to establish a nationwide regime of
on-demand abortion by licensing sweeping access to chemical-abortion
drugs—in defiance of federal and state laws protecting life, health, and
safety. In 2000, the FDA purported to approve the drug mifepristone for
chemically induced abortions through 49 days of pregnancy. That
approval had basic legal problems of its own, but it did include safety

measures to account for mifepristone’s serious risks to life and health.
Yet over time the FDA cast even those measures aside. In 2016, it rolled
back many safety requirements—allowing mifepristone to be prescribed
later in pregnancy, by non-doctors, and with only one in-person visit. In
2021,     the   agency    halted   the       remaining    in-person     dispensing
requirements during the COVID-19 pandemic and later abandoned the
requirements altogether. After decades of such efforts, the FDA now
broadly condones a wide-ranging mail-order abortion-drug regime.
        The district court held that the FDA’s core actions on mifepristone
are profoundly flawed and stayed them. The FDA and a lead seller of
chemical abortion ask this Court to halt that ruling.
        The public interest and equities strongly support denying
emergency relief and leaving in place the district court’s stay of the FDA’s


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actions. First, the FDA’s actions contravene federal law and so disserve
the public interest. Second, the FDA’s actions defy the public-interest

determinations made by the amici States, which are entrusted with
balancing the policy and equitable considerations in this area. Last, the
FDA’s actions threaten to undermine the amici States’ enforcement of
duly enacted laws and thus undercut the public interest that those laws
promote. The district court recognized these points in invalidating the
FDA’s actions. This Court should do the same.

                            BACKGROUND
     The Federal Food, Drug, and Cosmetic Act directs the U.S. Food
and Drug Administration to “protect the public health by ensuring that
... human and veterinary drugs are safe and effective.” 21 U.S.C.
§ 393(b)(2)(B). Under the Act, the FDA is responsible for approving any
“new drug” before it is marketed and distributed to the public. Id.
§ 321(p)(1). The Act bars anyone from “introduc[ing] or deliver[ing] for
introduction into interstate commerce any new drug” without FDA
“approval.” Id. § 355(a). To obtain FDA approval, a new drug must
undergo an extensive process with rigorous testing. The FDA’s conclusion
that a drug is safe and effective must be based on “substantial evidence”
of expert consensus. Id. § 355(d).




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     In 2000, the FDA approved the marketing and distribution of
mifepristone for “the medical termination of intrauterine pregnancy

through 49 days’ pregnancy.” FDA Addendum (Add.) 181, CA5 Dkt. 27.
Mifepristone is a synthetic steroid that causes “menstrual bleeding,
disruption of the endometrium [or uterine lining], and then termination”
of a pregnancy. Mifepristone, NIH, Nat’l Library of Medicine,
http://bit.ly/403EjSN. Mifepristone is generally followed by a dose of
misoprostol, which causes the pregnant woman’s uterus to contract and

expel the detached embryo. Id., Misoprostol, http://bit.ly/3DgTpKZ.
     The FDA approved mifepristone under Subpart H of the agency’s
regulations, which implement the agency’s general authority to approve
new drugs that “have been studied for their safety and effectiveness in
treating serious or life-threatening illnesses,” 21 C.F.R. § 314.500, and
“can be safely used only if distribution or use is restricted,” id. § 314.520.
To satisfy Subpart H, the FDA needed to—and did—deem pregnancy a
“serious or life-threatening illness[ ]” (even in the absence of
complications) and conclude that mifepristone was “safe[ ]” and
“provide[d] meaningful therapeutic benefit.” Add.186 (citing 21 C.F.R.
§§ 314.500-314.560).
     Despite approving mifepristone, the FDA recognized the serious
risk of “urgent adverse event[s] associated with” the drug—including


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incomplete abortions or severe bleeding requiring surgery. Add.185.
These risks increase later in pregnancy and for ectopic pregnancy.

Add.181-88. The approval thus required that the drug be provided only
“by or under the supervision of a physician” with the ability to “assess
the duration of pregnancy accurately,” “diagnose ectopic pregnancies,”
“provide [or arrange for] surgical intervention in cases of incomplete
abortion or severe bleeding,” and “assure patient access to medical
facilities equipped to provide blood transfusions and resuscitation.”

Add.186.
     In 2007, Congress enacted the Food and Drug Administration
Amendments Act, Pub. L. No. 110-85, 121 Stat. 823 (2007). That law
affected FDA approvals under Subpart H. It directed the agency to adopt
a Risk Evaluation and Mitigation Strategy (REMS) for a new drug when
“necessary to ensure that the benefits of the drug outweigh the risks.” 21
U.S.C. § 355-1(a)(1)-(2). A REMS operates as a “drug safety program” for
medications that present “serious safety concerns.” U.S. Food & Drug
Admin.,     Risk      Evaluation        and        Mitigation      Strategies,
http://bit.ly/3wKOwGp; see ibid. (“While all medications have labeling
that informs health care stakeholders about medication risks, only a few
medications require a REMS.”). Because of the serious safety concerns
involved, the FDA established a REMS program for mifepristone in 2011


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with various “elements to assure safe use,” including a requirement that
the drug be dispensed only in certain healthcare settings—clinics,

medical offices, and hospitals—under the supervision of a certified
prescriber. Add.838-39.
     Despite the risks that the FDA itself recognized, over the next
decade and beyond, the Obama and Biden Administrations expanded
mifepristone’s use and dropped the safety measures erected around it. In
2016, the FDA extended the approved use of mifepristone through 70

days (10 weeks) of pregnancy, allowed a broader set of persons to
prescribe the drug, and reduced the number of required in-person patient
visits from three to one. Add.776-803, 839. But the agency maintained
the requirement for at least one in-person visit so that the drug could be
dispensed only in clinics, medical offices, and hospitals under the
supervision of a certified healthcare provider. Add.840.
     In April 2021, however, the FDA stopped enforcing the in-person-
dispensing requirements. The FDA attributed that decision to “COVID-
related risks” of in-person dispensing. App.715, D. Ct. Dkt. 8. The agency
added that it would “exercise enforcement discretion during the COVID-
19 [public-health emergency] with respect to the dispensing of
mifepristone through the mail.” Ibid.




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     In December 2021, the FDA abandoned the in-person dispensing
requirement altogether. Add.842. It made this decision independent of

any COVID-related risks and despite recognizing that “certain elements
of the Mifepristone REMS Program”—including “healthcare provider
certification and dispensing of mifepristone to patients with evidence or
other documentation of safe use conditions”—“remain necessary to
assure the safe use of mifepristone” and “ensure the benefits of
mifepristone outweigh the risks.” Ibid. On January 3, 2023, the FDA

modified the mifepristone REMS program to make clear the agency’s
position that the drug can now be dispensed by certified prescribers or
retail pharmacies “in-person or by mail.” U.S. Food & Drug Admin.,
Information about Mifepristone for Medical Termination of Pregnancy
Through Ten Weeks Gestation, http://bit.ly/3kHmh8Q.
     While the FDA is authorized to evaluate new drugs for safety and
effectiveness, States are primarily responsible for protecting the health
and welfare of their citizens. Many States, including several amici here,
have thus enacted laws to regulate abortion-inducing drugs and account
for their dangers. Such laws can include in-person examination and
dispensing requirements, qualification requirements for prescribers,
mandates for informed consent, bans on distribution by mailing, or some
combination of these and other safety limitations. See infra.


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     The lawsuit here challenges the actions through which the FDA has
approved mifepristone, made it widely accessible, and discarded

measures to manage the risks that it presents. Agreeing with a wide
range of plaintiffs’ arguments, as well as arguments advanced by the
amici States here, the district court stayed the FDA’s approval of
mifepristone. Op. 32-67. The FDA and Danco Laboratories, a lead
distributor of mifepristone, now ask this Court for emergency relief from
that ruling.

          REASONS TO DENY A STAY PENDING APPEAL
     The Public Interest And Equities Strongly Support The
     Relief The District Court Ordered Against The FDA’s
     Actions On Mifepristone.
     The FDA’s challenged actions on mifepristone are deeply flawed.
They defy federal law, flout the public-interest determinations that
States have properly made, and undermine the public interest in the
enforcement of validly enacted state laws. The district court properly
ordered relief against the agency’s actions. There is no sound basis for
staying that order.

     A.    The Public Interest And Equities Weigh Strongly
           Against The FDA’s Actions Because Those Actions Defy
           Federal Law.
     Plaintiffs have explained why the FDA’s and Danco’s merits
arguments fail. See Stay Opp. 15-25. Amici emphasize, as they did in the

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district court, that the FDA’s actions defy both the agency’s regulations
and also federal laws restricting the mailing of abortion drugs. The public

interest and equities thus strongly support upholding the district court’s
ruling and rejecting the requests for relief from that ruling.
     An agency action defies the public interest if it is unlawful. “There
is generally no public interest in the perpetuation of unlawful agency
action.” Texas v. Biden, 10 F.4th 538, 560 (5th Cir. 2021) (brackets
omitted); see also Wages & White Lion Invs., LLC v. FDA, 16 F.4th 1130,

1143 (5th Cir. 2021). Allowing illegal actions by government agencies to
stand “undermine[s]” the public interest. Valley v. Rapides Parish Sch.
Bd., 118 F.3d 1047, 1056 (5th Cir. 1997). And there is a strong public
interest “in having governmental agencies abide by the federal laws that
govern their existence and operations.” Biden, 10 F.4th at 559.
     The FDA’s actions here have two basic legal flaws.
     First, the FDA’s approval of mifepristone defies the agency’s own
regulations. See Op. 39-48. As noted, the agency relied on Subpart H of
its regulations when it first approved mifepristone in 2000. Subpart H
permits the FDA to approve “certain new drug products that have been
studied for their safety and effectiveness in treating serious or life-
threatening illnesses and that provide meaningful therapeutic benefit to
patients over existing treatments.” 21 C.F.R. § 314.500 (emphasis


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added). That regulation doubly forecloses the FDA’s approval. Pregnancy
is not an “illness[ ].” It is a natural state essential to perpetuating human

life. And typical early-stage pregnancy without complications is not a
condition that is “serious or life-threatening” or that requires the
“treatment” mifepristone provides.
     The FDA admits that pregnancy is not an illness but claims that its
rulemaking “explained that Subpart H was available for drugs that treat
serious or life-threatening conditions”—regardless of whether they are

understood colloquially as illnesses. FDA Mot. 20 (citing New Drug,
Antibiotic, and Biological Drug Product Regulations; Accelerated
Approval, 57 Fed. Reg. 58942, 58946-48 (Dec. 11, 1992)) (emphasis
added). But an unambiguous regulation—not the agency’s aspirational
gloss on it—controls. As explained, that clear regulatory text defeats the
FDA’s view and thus its approval of mifepristone. At most, the FDA’s
argument suggests that it could have approved mifepristone under
Subpart H for cases in which a pregnant woman’s life or health is
seriously in danger. That is not what it did—and the FDA still would
have been stuck with the reality that pregnancy is not an “illness[ ].” 21
C.F.R. § 314.500. Subpart H does not permit the agency to greenlight
elective abortions on a wide scale.




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     The FDA also claims that “[a]ny error from relying on Subpart H”
is “harmless” because Congress “incorporated mifepristone’s restrictions”

when it “created the new REMS framework” in 2007. FDA Mot. 19, 20.
This is not the argument of an agency that is confident in the legality of
its actions. See Op. 58 n.63 (embracing the States’ argument on this
point). And the argument fails. When Congress established the REMS
framework in 2007, it temporarily “deemed to have in effect an approved
risk evaluation and mitigation strategy” any “drug that was [previously]

approved” under Subpart H with “elements to assure safe use,” Pub. L.
No. 110-85, § 909(b)(1), 121 Stat. at 950, and required the sponsors of
such drugs to “submit to the [FDA] a proposed risk evaluation and
mitigation strategy” within 180 days, id. § 909(b)(3), 121 Stat. at 951.
This means that Congress “deemed” preexisting safety requirements to
be sufficient REMS programs under the new 2007 law until a new
strategy was approved. That law did not affect whether a drug was
properly authorized under Subpart H in the first place to treat “serious
or life-threatening illnesses.” 21 C.F.R. § 314.500. Congressional action
did not blot out the FDA’s defiance of its own regulation.
     Second, the FDA’s actions defy federal criminal law. See Op. 32-38.
Longstanding federal law provides that “[e]very article or thing designed,
adapted, or intended for producing abortion ... [i]s declared to be


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nonmailable matter and shall not be conveyed in the mails or delivered
from any post office or by any letter carrier.” 18 U.S.C. § 1461. A related

statute makes it a federal crime to “knowingly use[ ] any express
company or other common carrier” to ship “in interstate or foreign
commerce ... any drug, medicine, article, or thing designed, adapted, or
intended for producing abortion.” Id. § 1462. Violations of either statute
are punishable by five or more years of imprisonment. Id. §§ 1461, 1462.
These statutes prohibit using the mail to send or receive abortion-

inducing drugs such as mifepristone. The statutes’ restrictions on
abortion have remained in place—even as Congress has repealed other
parts of these laws. See Pub. L. No. 91-662, 84 Stat. 1973 (1971)
(repealing certain restrictions on contraceptives from what is now section
1461). Congress has also considered narrowing those statutes with a
targeted intent requirement. See H.R. 13959, 95th Cong. §§ 6701(a)(2),
6702(1)(C)(i) (1978); see also H.R. Rep. No. 29, pt. 3, at 42 (1979)
(explaining how bill would have “change[d] current law”). Those efforts
failed. A late-breaking memo from the Biden Justice Department, see
Application of the Comstock Act to the Mailing of Prescription Drugs
That Can Be Used for Abortions, 46 Op. OLC __ (Dec. 23, 2022), reads
into sections 1461 and 1462 the very intent requirement that Congress
refused to enact. But that memo cannot paper over clear statutory


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language or the historical reality that Congress has not altered the
relevant text. See Op. 32-38.

     The FDA’s challenged actions on mifepristone thus defy the
agency’s regulatory authority and longstanding federal criminal law.
Because those actions are at war with the law, the FDA and Danco cannot
claim any public interest in enforcing them. Indeed, upholding the
district court’s ruling requiring the FDA to “abide by” federal law
promotes the public interest, Biden, 10 F.4th at 559—and disturbing the

district court’s ruling would “undermine” the public interest, Valley, 118
F.3d at 1056.

     B.    The FDA’s Actions Undermine The Public-Interest
           Determinations That States—Not Federal Agencies—
           Are Entitled To Make.
     The FDA was not responding to changed circumstances on the

safety of mifepristone when it cast aside the longstanding requirements
for in-person dispensing. Nor was the agency following any legislative
mandate from Congress when promoting a new mail-order abortion

regime. Rather, consistent with the FDA’s longstanding approach of
favoring the “political objective[s]” of “abortion advocates” over the health
and safety of women, Op. 55, 57 (emphasis omitted), the agency was
acting at the behest of the Biden Administration and its allies who
demanded political action after Dobbs v. Jackson Women’s Health

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Organization, 142 S. Ct. 2228 (2022). After that decision the
Administration swiftly declared that duly enacted state laws on abortion

will have “devastating implications” for “public health” and that the
federal government would act to “expand access to abortion care,
including medication abortion,” Protecting Access to Reproductive
Healthcare Services, Exec. Order No. 14076, 87 Fed. Reg. 42053, 42053
(2022)—despite considered judgments by elected representatives on how
to address the health interests at stake. But, as the Supreme Court

recognized, it is the responsibility of elected representatives in States—
not unelected bureaucrats in federal agencies—to strike the balance
between “competing interests” on abortion. Dobbs, 142 S. Ct. at 2268. The
FDA’s mail-order abortion regime seeks to override the balance properly
struck by States. The district court’s order properly prevents those
actions from continuing to harm the public interest.
     Under our Constitution, States have the primary authority to
legislate to protect the health, safety, and welfare of their citizens.
Hillsborough Cnty., Fla. v. Automated Med. Laboratories, Inc., 471 U.S.
707, 719 (1985) (“[T]he regulation of health and safety matters is
primarily, and historically, a matter of local concern.”); Metro. Life Ins.
Co. v. Massachusetts, 471 U.S. 724, 756 (1985) (“The States traditionally
have had great latitude under their police powers to legislate as to the


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protection of the lives, limbs, health, comfort, and quiet of all persons.”)
(internal quotation marks omitted). This power includes regulating the

medical profession and setting standards of care. Gonzales v. Oregon, 546
U.S. 243, 270 (2006) (“[A] functioning medical profession [is] regulated
under the States’ police powers.”).
     Using this authority, States have adopted varying approaches to
abortion that reflect the policy decisions of their constituent citizens.
State laws restricting abortion ubiquitously include provisions to protect

a woman’s life. E.g., Miss. Code Ann. § 41-41-45(2). They commonly
include exceptions in other circumstances too. E.g., ibid. (abortion
permitted “where the pregnancy was caused by rape”). Many States have
passed laws that address the particular risks presented by chemical
abortions. Such laws recognize, for example, that “abortion-inducing
drugs”: “present[ ] significant medical risks to women” such as “uterine
hemorrhage, viral infections, pelvic inflammatory disease, severe
bacterial infection and death,” id. § 41-41-103(1)(a); “are associated with
an increased risk of complications relative to surgical abortion” that
heightens “with increasing gestational age,” id. § 41-41-103(1)(b); and
“are contraindicated in ectopic pregnancies,” id. § 41-41-107(2). Given
those risks, States have used their regulatory authority to direct (for
example) that only physicians may provide such drugs, that a physician


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may do so only after “physically examin[ing] the woman and
document[ing] ... the gestational age and intrauterine location of the

pregnancy,” and that abortion drugs “must be administered in the same
room and in the physical presence of the physician,” ensuring that the
pregnant woman is informed of risks and monitored for complications.
Id. §§ 41-41-107(2), (3); see, e.g., Ind. Code Ann. § 16-34-2-1 (requiring in-
person exam and dispensing); La. Stat. Ann. § 40:1061.11 (requiring in-
person dispensing); Okla. Stat. Ann. tit. 63, § 1-729.1 (same); Tex. Health

& Safety Code Ann. § 171.063(b-1) (prohibiting shipment of abortion-
inducing drugs “by courier, delivery, or mail service”). Last, like all
methods of elective abortion, elective chemical abortion is generally
unlawful in numerous States. E.g., Miss. Code Ann. § 41-41-45(2)
(abortion unlawful except “where necessary for the preservation of the
mother’s life or where the pregnancy was caused by rape”).
      In the actions at issue here, the FDA has sought to impose a federal
mail-order abortion regime that disregards the protections for life,
health, and safety adopted by numerous States’ elected representatives.
But the authority to “regulat[e] or prohibit[ ] abortion” belongs to “the
citizens of each State.” Dobbs, 142 S. Ct. at 2284. The FDA may
determine only whether mifepristone is “safe and effective” for its
intended use, in accordance with the Federal Food, Drug, and Cosmetic


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Act. 21 C.F.R. §§ 314.2, 314.500. The agency has no authority to approve
dangerous drugs in violation of federal law—much less make broad policy

judgments balancing the people’s interests in “prenatal life at all stages
of development,” “maternal health and safety,” and “the integrity of the
medical profession.” Dobbs, 142 S. Ct. at 2284. Legislatures have that
authority, and state legislatures have balanced these interests and
others in laws that reflect the views of constituent citizens. Insofar as the
federal legislature has weighed in at all in this area, it has condemned

what the FDA has done. Congress has expressly declared that drugs
“designed, adapted, or intended for producing abortion ... shall not be
conveyed in the mails.” 18 U.S.C. § 1461.
     State laws on chemical abortion thus account for the public
interests at issue—and they do so with the benefit of democratic
legitimacy (and legal authority). The FDA’s actions can make no such
claim. By obstructing the judgments of elected representatives, the
agency has undermined the public interest. Given the absence of
authority for the FDA to establish a mail-order abortion regime—and
States’ retained authority to act, U.S. Const. amend. X—the public
interest strongly weighs against the FDA’s effort to override duly enacted
state laws. This too supports denying emergency relief.




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     C.    The FDA’s Actions Harm The Public Interest By
           Undermining States’ Ability To Protect Their Citizens
           And Forcing States To Divert Scarce Resources To
           Investigating And Prosecuting Violations Of Their
           Laws.
     Even if the FDA’s approval of mifepristone harmonized with the
agency’s own regulations and federal criminal law, those actions would

not simply displace state laws regulating abortion. The amici States are
entitled to enforce their duly enacted laws regulating chemical abortion
in the interests of life, health, and safety. Yet the FDA’s actions will, if

the district court’s ruling is stayed, continue to undercut those efforts and
thus harm the public interest. See Op. 63.
     The Biden Administration claims that it has the power to broadly
make abortion drugs accessible despite contrary determinations by
States and despite regulations that States may have enacted to protect
life, health, and safety in the use of those drugs. See Memorandum on

Further Efforts to Protect Access to Reproductive Healthcare Services,
The White House (Jan. 22, 2023), http://bit.ly/3kEZrPl (Biden
Memorandum). That claim is wrong. No federal law shows a “clear and

manifest purpose” to displace state law in this context. Rice v. Santa Fe
Elevator Corp., 331 U.S. 218, 230 (1947); see also ibid. (Courts should
“start with the assumption that the historic police powers of the States

[are] not to be superseded ... unless that was the clear and manifest


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purpose of Congress.”). The need for a clear statement from Congress “is
heightened” where, as here, an “administrative interpretation alters the

federal-state framework by permitting federal encroachment upon a
traditional state power.” Solid Waste Agency of N. Cook Cnty. v. U.S.
Army Corps of Engineers, 531 U.S. 159, 173 (2001); see also Metro. Life,
471 U.S. at 740 (Courts “must presume that Congress did not intend to
pre-empt areas of traditional state regulation.”). As discussed above, the
relevant federal statutes criminalize sending or receiving abortion drugs

by mail and thus affirmatively condemn the FDA’s actions. Supra Part B.
States are thus entitled to enforce their laws—protecting life, health, and
safety—against persons and businesses involved in distributing or
receiving abortion drugs by mail.
     Yet the FDA’s actions undermine States’ laws, undercut their
efforts to enforce them, and—as a result—harm the public interest, in
two overarching ways.
     First, the FDA’s actions undermine States’ ability to protect their
citizens. Those actions lead to the widespread shipment and use of
abortion-inducing drugs. See Abortion Pills Can Now Be Offered at Retail
Pharmacies,     F.D.A.    Says,     N.Y.     Times      (Jan.     3,    2023),
http://bit.ly/3WFFxB0. That widespread use will often occur in defiance
of state laws that protect life, health, and safety. See Retail Pharmacies


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Can Now Offer Abortion Pill, FDA Says, Politico (Jan. 3, 2023),
http://bit.ly/3wCPl3V (“Telemedicine and mail delivery of the pills has

allowed patients to circumvent state bans.”). Indeed, the whole point of
the Administration’s recent actions is to encourage and achieve evasion
of those state laws. Such evasion—particularly when coupled with the
FDA’s abandonment of key protections on mifepristone’s use—will harm
the citizens of the amici States. Cf. Op. 57-58, 61-63. That harm defies
the public interest.

     Second, the FDA’s actions force States to devote scarce resources to
investigating and prosecuting violations of their laws. As the FDA
continues a campaign that will harm amici’s citizens, amici will not sit
by. Amici will enforce their laws to protect their citizens. But if the
district court’s ruling is stayed, the FDA’s actions will continue to make
that task hard. The FDA—and the broader Administration—is
encouraging lawbreaking on a mass scale. Without the relief ordered by
the district court, that regime will require States to divert scarce
resources to investigate and prosecute violations of their laws to
vindicate the public interests that those laws represent. Cf. Maine v.
Taylor, 477 U.S. 131, 137 (1986) (“[A] State clearly has a legitimate
interest in the continued enforceability of its own statutes.”); Texas v.
United States, 787 F.3d 733, 749 (5th Cir. 2015) (“[S]tates have a


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sovereign interest in the power to create and enforce a legal code.”)
(internal quotation marks omitted). Such enforcement will be especially

hard in these circumstances, given the Administration’s position that it
will not enforce existing federal restrictions on abortion drugs, will treat
state laws as “barriers” to be avoided, and can be expected to stymie and
defy States’ efforts to enforce their own laws. Biden Memorandum; cf.
Remarks of President Joe Biden—State of the Union Address as
Prepared    for   Delivery,     The       White    House        (Feb.   7,   2023),

http://bit.ly/3RHeAfn    (reaffirming       opposition     to   States that       are
protecting life and health after Dobbs). All of this subverts the public
interest and the equities represented by validly enacted state laws. It
strongly supports the relief the district court issued—and confirms that
this Court should deny emergency relief.
                                 *      *      *
     The serious nature of the FDA’s unlawful actions, and the agency’s
decision to invite lawbreaking by private parties and government actors
across the country, favors the relief the district court ordered. The FDA
and the Administration as a whole have no intention to respect the
Constitution, the Supreme Court, or the democratic process when it
comes to abortion. The district court’s decisive action was warranted. And
this Court’s is too. This Court should deny any stay relief.


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                             CONCLUSION
     The public interest and equities support rejecting emergency stay
relief from the district court’s ruling against the FDA’s actions.
     Dated: April 12, 2023
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                      CERTIFICATE OF SERVICE
     I, Justin L. Matheny, hereby certify that the foregoing brief has
been filed with the Clerk of Court using the Court’s electronic filing

system, which sent notification of such filing to all counsel of record.
     Dated: April 12, 2023
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                  CERTIFICATE OF COMPLIANCE
     This brief complies with the content and form requirements of Fed.

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